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                                 123239



                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF INDIANA
                               INDIANAPOLIS DIVISION


 In Re: COOK MEDICAL, INC., IVC                     Case No. 1:14-ml-2570-RLY-TAB
 FILTERS MARKETING, SALES                           MDL No. 2570
 PRACTICES AND PRODUCTS LIABILITY
 LITIGATION


 This Document Relates to Plaintiff(s):

 Diana Holguin (1:20-cv-06166-RLY-TAB)




        ORDER PERMITTING WITHDRAWAL OF ATTORNEY APPEARANCE

       Plaintiff Diana Holguin’s Motion to Withdraw Attorney Appearance of Jade M. Ruiz (Dkt.

19816) is GRANTED.

       IT IS THEREFORE ORDERED that Jade M. Ruiz is withdrawn as attorney of record

for Plaintiff Diana Holguin and is relieved of the duties and responsibility of counsel for

Plaintiff Diana Holguin effective immediately. Basil E. Adham and Johnson Law Group shall

continue to serve as counsel of record for Plaintiff.

        Date: 9/2/2021
                                            _______________________________
                                             Tim A. Baker
                                             United States Magistrate Judge
                                             Southern District of Indiana




Distribution to all registered counsel of record via ECF.
